   Case 1:20-cv-02702-RM-SKC Document 116-3 Filed 01/12/22 USDC Colorado Page 1 of 4



Carmen Van Pelt

From:             Crum,David <David.Crum@colostate.edu>
Sent:             Wednesday, September 23, 2020 7:58 AM
To:               Salazar,Jessica
Cc:               Johnson,Jason; Mohr,Jannine
Subject:          Steve C texts re M Best

Follow Up Flag:   FollowUp




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Flag Status:      Flagged




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Sent from my iPad



       On Sep 22, 2020, at 1:44 PM, Salazar,Jessica <Jessica.Salazar@colostate.edu> wrote:



       <First Amended complaint clean.pdf>




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